Case 1:19-bk-11696-VK            Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19              Desc
                                  Main Document    Page 1 of 22


 1   DAVID SEROR - Bar No. 67488
     JORGE A. GAITAN - Bar No. 288427
 2   BRUTZKUS GUBNER
     21650 Oxnard Street, Suite 500
 3   Woodland Hills, CA 91367
     Telephone: (818) 827-9000
 4   Facsimile: (818) 827-9099
     Email:     dseror@bg.law
 5              jgaitan@bg.law
 6   Proposed Attorneys for Diane C. Weil,
     Chapter 7 Trustee
 7

 8                                UNITED STATES BANKRUPTCY COURT

 9                                 CENTRAL DISTRICT OF CALIFORNIA

10                                   SAN FERNANDO VALLEY DIVISION

11   In re                                                    Case No. 1:19-bk-11696-VK
12   PETER M. SELTZER,                                        Chapter 7
13                            Debtor.                        TRUSTEE’S APPLICATION FOR
                                                             AUTHORITY TO EMPLOY REAL
14                                                           ESTATE BROKER; STATEMENT OF
                                                             DISINTERESTEDNESS IN SUPPORT
15                                                           THEREOF
16                                                           [11 U.S.C. §327(a), Fed. R. Bank. P. 2014 and
                                                             Local Bankr. R. 2014-1(b)]
17

18
                                                              [No Hearing Required]
19

20   TO THE HONORABLE VICTORIA S. KAUFMAN, UNITED STATES BANKRUPTCY
21   JUDGE, THE DEBTOR AND HIS ATTORNEY, THE OFFICE OF THE UNITED STATES
22   TRUSTEE, AND ALL OTHER INTERESTED PARTIES:
23              Applicant Diane C. Weil, the duly appointed and acting Chapter 7 Trustee (“Trustee”) for the
24   bankruptcy estate (the “Estate”) of the above-captioned debtor Peter M. Seltzer (“Debtor”) hereby
25   represents as follows:
26             1.    This bankruptcy case (“Case”) was commenced by the filing of a Voluntary Petition by
27   the Debtor under Chapter 11 of Title 11 of the United States Code (beginning at 11 U.S.C. § 101, et
28   seq., “Bankruptcy Code”) on July 9, 2019 (“Petition Date”). On December 26, 2019, this case was

                                                         1
     2264770
Case 1:19-bk-11696-VK             Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19                  Desc
                                   Main Document    Page 2 of 22


 1   converted to a Chapter 7 case. Shortly thereafter Diane C. Weil was appointed the Chapter 7 Trustee

 2   (“Trustee”), in which capacity she continues to serve.

 3                2.   The Trustee has determined that it is in the best interest of the Estate to sell property

 4   of the Estate located at 4179 Prado de la Puma, Calabasas, California 91302 (“Property”) and

 5   requires the assistance of a real estate broker to assist him with the marketing and selling Property

 6   and wishes to employ Coldwell Banker Residential Brokerage (“Broker”) to assist with such efforts.

 7   The résumés of the Broker’s agents are attached collectively as Exhibit 1 to the Declarations of

 8   William I. Friedman and Nona Green (“Declarations”) and incorporated herein by this reference.

 9   The Broker has agreed to advertise the Property, to show the Property to interested parties, to

10   represent the Estate in connection with the sale of the Property, and to advise the Trustee with

11   respect to obtaining the highest and best offer(s) available in the present market for the Property.

12                3.   The Broker has determined that the Property should have a list price of $2,600,000, as

13   set forth in the Declarations attached hereto and incorporated herein by this reference.

14                4.   The Trustee desires to employ the Broker on the terms and conditions stated in the

15   Residential Listing Agreement for the Property (“Listing Agreement”), a true and correct copy of

16   which is attached collectively as Exhibit 2 to the Declarations and incorporated herein by this

17   reference.

18                5.   The Broker has determined that it does not represent any creditor with an interest

19   adverse to the Estate. See, the Declarations. The Broker does not currently represent any other entity

20   involved in the Case, and is disinterested as that term is defined at 11 U.S.C. § 101(14). The Broker

21   represents and believes that it holds no interest adverse to the interests of the Estate with respect to

22   the matters on which it will be employed.

23                6.   The Trustee is informed and believes that the employment of the Broker herein upon

24   the foregoing terms is fair, equitable and in the bests interests of the Estate, and therefore the

25   employment of the Broker on said terms should be approved.

26                7.   The Broker was advised of and agreed to accept employment by the Estate subject to

27   the provisions of 11 U.S.C. § 328(a). The Broker will be paid a percentage of the purchase price at

28   the time of the sale, subject to Court approval of said sale. The Listing Agreement is subject to

                                                           2
     2264770
Case 1:19-bk-11696-VK            Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19                  Desc
                                  Main Document    Page 3 of 22



   1   approval of the Court, and may be terminated at any time by Trustee upon written notice to the

   2   Broker.


   3               8.   The Broker will comply with all applicable provisions of the Bankruptcy Code, the

   4   Bankruptcy Rules, the Local Bankruptcy Rules and the Guidelines of the United States Trustee.

   5               9.   Pursuant to Loc. Bankr. R. 2014-1(b)(2), a notice of this Application (the "Notice")

   6   was sent to all parties in interest.

   7             WHEREFORE, the Trustee respectfully requests that an order be entered authorizing the

   8   employment of the Broker under the terms of the Listing Agreement, pursuant to 11 U.S.C. §327(a)

   9   and in accordance with Rule 2014(a) of the Federal Rules of Bankruptcy Procedure and Local

  10   Bankruptcy Rule 2014-1 (b)( 1).

  11


  12


  13   DATED: February 25, 2020                                    S GUBNER

  14


  15
                                                              avid Seror
  16                                                        Jorge A. Gaitan
                                                            Proposed Attorneys for Ch%iter 7 Trustee,
  17                                                        Diane C. Weil

  18


  19
       The undersigned agree to all of the above:
  20
       Coldwell Banker Residential Brokerage
  21


  22


  23
       By:        ^jyV> r-
             William L Friedi'nan
  24


  25


  26   By:
             Nona Green
  27


  28


       2245072
Case 1:19-bk-11696-VK   Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19   Desc
                         Main Document    Page 4 of 22
Case 1:19-bk-11696-VK            Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19                 Desc
                                  Main Document    Page 5 of 22


 1         STATEMENT OF DISINTERESTEDNESS IN SUPPORT OF APPLICATION FOR

 2             EMPLOYMENT OF PROFESSIONAL PERSONS UNDER RULE 2014 OF THE

 3                          FEDERAL RULES OF BANKRUPTCY PROCEDURE

 4                    [The following is provided in conformity with Form No. 2014-1 of the

 5                        United States Bankruptcy Court, Central District of California.]

 6             I, William I. Friedman, declare:

 7             1.   I am a licensed California real estate agent with Coldwell Banker Residential

 8   Brokerage, specializing in the marketing and sale of real estate properties throughout Southern

 9   California. My business address is 2444 Wilshire Boulevard, Suite 102, Santa Monica, California

10   90403, phone (424) 702-3007. Each of the facts contained in this declaration is based on personal

11   knowledge and, if called as a witness, I could and would competently testify thereto under oath. All

12   capitalized terms not defined herein shall have the same meaning ascribed to them in the

13   Application.

14             2.   This declaration is made in support of the foregoing Application of the Trustee to

15   employ the Broker in relation to the Property.

16             3.   A summary of my professional qualifications is attached hereto as Exhibit 1 and

17   incorporated herein by this reference.

18             4.   I agree, on the Trustee’s behalf, to advertise the Property, to show the Property to

19   interested parties, to represent the Estate in connection with the sale of the Property, and to advise

20   the Trustee with respect to obtaining the highest and best offer available in the present market for the

21   Property.

22             5.   It is my opinion that the Property should be listed at $2,600,000.00.

23             6.   The Trustee desires to employ the Broker on the terms and conditions stated in the

24   Listing Agreement, which is an exclusive authorization and right for the Broker to sell through

25   multiple listings. An executed copy of the Listing Agreement is attached hereto as Exhibit 2 and

26   incorporated herein by this reference. The Listing Agreement, which was made subject to approval

27   by the Court, may be terminated at any time by Trustee upon written notice to the Broker.

28             7.   Neither the Broker nor I was paid a monetary retainer.

                                                          4
     2264770
Case 1:19-bk-11696-VK            Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19                Desc
                                  Main Document    Page 6 of 22


 1             8.   The Broker and I will comply with all applicable provisions of the Bankruptcy Code,

 2   the Bankruptcy Rules, the Local Bankruptcy Rules and the Guidelines of the United States Trustee.

 3             9.   I carefully reviewed my files and determined that no conflict exists in connection with

 4   this matter. In conducting this search under the name of the Debtor, no references to the Debtor

 5   came up and based upon this review, I determined that I have not represented anyone with any

 6   interests adverse to the Debtor. Further, I have not represented any creditor or other party in this

 7   Case and believe I have no interest adverse to the Debtor or the Estate. Therefore, to the best of my

 8   knowledge, information and belief, I am a “disinterested party” in this Case as that term is defined

 9   by the Bankruptcy Code.

10             10. The following is a complete description of my connection with the Debtor, insiders, the

11   Chapter 7 Trustee, the Debtor’s creditors, any other party or parties in interest, and their respective

12   attorneys and accountants: None, except that I have previously been employed as a broker by the

13   Trustee and by other bankruptcy trustees in unrelated bankruptcy cases.

14             11. Neither the Broker nor I am a creditor, an equity security holder or an insider of the

15   Debtor.

16             12. Neither the Broker nor I are nor were an investment banker for any outstanding security

17   of the Debtor.

18             13. Neither the Broker nor I are or were, within three years before the date of the filing of

19   the Petition herein, an investment banker for a security of the Debtor, or an attorney for such an

20   investment banker in connection with the offer, sale or issuance of any security of the Debtor.

21             14. Neither the Broker nor I are nor were, within two years before the date of filing of the

22   Petition herein, a director, officer or employee of the Debtor or of any investment banker for any

23   security of the Debtor.

24             15. Neither the Broker nor I hold or represent any interest materially adverse to the interests

25   of the Estate or of any class of creditors or equity security holders, for reason of any direct or

26   indirect relationship to, connection with, or interest in, the Debtor, or an investment banker for any

27   security of the Debtor, the Chapter 7 Trustee, or for any other reason.

28   ///

                                                          5
     2264770
Case 1:19-bk-11696-VK            Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19             Desc
                                  Main Document    Page 7 of 22


               16. Neither the Broker nor I are a relative or employee of any judge of the United States

 2   Bankruptcy Court for the Central District of California, the United States Trustee, or any person

 3   currently employed in the Office of the United States Trustee.

 4             17. Total number of attached pages of supporting documentation: 11.

 5             18. After conducting the investigation described in paragraph 9 above, I declare under

 6   penalty of perjury under the laws of the United States of America that the foregoing is true and

 7   correct, except for those matters which are stated on information and belief, and as to those matters I

 8   believe them to be true.

 9             Executed this   1_5   day of February, 2020, at Santa Monica, California.

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     2245072

                                                          6
Case 1:19-bk-11696-VK           Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19                  Desc
                                 Main Document    Page 8 of 22

           STATEMENT OF DISINTERESTEDNESS IN SUPPORT OF APPLICATION FOR
 1

 2
               EMPLOYMENT OF PROFESSIONAL PERSONS UNDER RULE 2014 OF THE

 3                          FEDERAL RULES OF BANKRUPTCY PROCEDURE

 4
                      [The following is provided in conformity with Form No. 2014-1 of the
 5
                          United States Bankruptcy Court, Central District of California.]
 6
               I, Nona Green, declare:
 7
               1.   I am a licensed California real estate agent with Coldwell Banker Residential
 8
     Brokerage, specializing in the marketing and sale of real estate properties throughout Southern
 9
     California. My business address is 883 S. Westlake Boulevard, Westlake Village, CA 91361,
10
     telephone no. (818) 426-2292. Each of the facts contained in this declaration is based on personal
11
     knowledge and, if called as a witness, I could and would competently testify thereto under oath. All
12
     capitalized terms used herein shall have the meaning ascribed to them in the Application.
13
               2.   This declaration is made in support of the foregoing Application of the Trustee to
14
     employ the Broker in relation to the Property.
15
               3.   A summary of my professional qualifications is attached hereto as Exhibit 1 and
16
     incorporated herein by this reference.
17
               4.   I agree, on the Trustee’s behalf, to advertise the Property, to show the Property to
18
     interested parties, to represent the Estate in connection with the sale of the Property, and to advise
19
     the Trustee with respect to obtaining the highest and best offer available in the present market for the
20
     Property.
21
               5.   It is my opinion that the Property should be listed at $2,600,000.
22
               6.   The Trustee desires to employ the Broker on the terms and conditions stated in the
23
     Listing Agreement, which is an exclusive authorization and right for the Broker to sell through
24
     multiple listings. An executed copy of the Listing Agreement is attached hereto as Exhibit 2 and
25
     incorporated herein by this reference. The Listing Agreement, which was made subject to approval
26
     by the Court, may be terminated at any time by Trustee upon written notice to the Broker.
27
               7.   Neither the Broker nor I was paid a monetary retainer.
28

                                                          7
     2264770
Case 1:19-bk-11696-VK            Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19                 Desc
                                  Main Document    Page 9 of 22


 1             8.   The Broker and I will comply with all applicable provisions of the Bankruptcy Code,

 2   the Bankruptcy Rules, the Local Bankruptcy Rules and the Guidelines of the United States Trustee.

 3             9.   I carefully reviewed my files and determined that no conflict exists in connection with

 4   this matter. In conducting this search under the name of the Debtor, no references to the Debtor

 5   came up and based upon this review, I determined that I have not represented anyone with any

 6   interests adverse to the Debtor. Further, I have not represented any creditor or other party in this

 7   Case and believe I have no interest adverse to the Debtor or the Estate. Therefore, to the best of my

 8   knowledge, information and belief, I am a “disinterested party” in this Case as that term is defined

 9   by the Bankruptcy Code.

10             10. The following is a complete description of my connection with the Debtor, insiders, the

11   Chapter 7 Trustee, the Debtor’s creditors, any other party or parties in interest, and their respective

12   attorneys and accountants: None.

13             11. Neither the Broker nor I am a creditor, an equity security holder or an insider of the

14   Debtor.

15             12. Neither the Broker nor I are nor were an investment banker for any outstanding security

16   of the Debtor.

17             13. Neither the Broker nor I are nor were, within three years before the date of the filing of

18   the Petition herein, an investment banker for a security of the Debtor, or an attorney for such an

19   investment banker in connection with the offer, sale or issuance of any security of the Debtor.

20             14. Neither the Broker nor I are nor were, within two years before the date of filing of the

21   Petition herein, a director, officer or employee of the Debtor or of any investment banker for any

22   security of the Debtor.

23             15. Neither the Broker nor I hold or represent any interest materially adverse to the interests

24   of the Estate or of any class of creditors or equity security holders, for reason of any direct or

25   indirect relationship to, connection with, or interest in, the Debtor, or an investment banker for any

26   security of the Debtor, the Chapter 7 Trustee, or for any other reason.

27

28

                                                          8
     2264770
         Case 1:19-bk-11696-VK             Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19                 Desc
                                            Main Document
DocuSign Envelope ID: 2ACDA2F6-7FED-4BC6-B655-180F6912AB6F   Page 10 of 22



                          16. Neither the Broker nor I are a relative or employee of any judge of the United States

            2   Bankruptcy Court for the Central District of California, the United States Trustee, or any person

            3   currently employed in the Office of the United States Trustee.

            4             17.   Total number of attached pages of supporting documentation: 11.

            5             18. After conducting the investigation described in paragraph 9 above, I declare under

            6   penalty of perjury under the laws of the United States of America that the foregoing is true and

            7   correct, except for those matters which are stated on information and belief, and as to those matters I

            8   believe them to be true.

            9             Executed this 25th day of February, 2020 at Westlake Village, California.

           10

           11

           12                                                       ~ ECD490 ..



           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

                2245072

                                                                    9
Case 1:19-bk-11696-VK   Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19   Desc
                         Main Document    Page 11 of 22




                               EXHIBIT 1                             10
Case 1:19-bk-11696-VK   Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19   Desc
                         Main Document    Page 12 of 22




                                                                     11
Case 1:19-bk-11696-VK   Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19   Desc
                         Main Document    Page 13 of 22




                                EXHIBIT 2                            12
Case 1:19-bk-11696-VK   Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19   Desc
                         Main Document    Page 14 of 22




                                                                     13
Case 1:19-bk-11696-VK   Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19   Desc
                         Main Document    Page 15 of 22




                                                                     14
Case 1:19-bk-11696-VK   Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19   Desc
                         Main Document    Page 16 of 22




                                                                     15
Case 1:19-bk-11696-VK   Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19   Desc
                         Main Document    Page 17 of 22




                                                                    16
Case 1:19-bk-11696-VK   Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19   Desc
                         Main Document    Page 18 of 22




                                                                     17
Case 1:19-bk-11696-VK   Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19   Desc
                         Main Document    Page 19 of 22




                                                                     18
Case 1:19-bk-11696-VK   Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19   Desc
                         Main Document    Page 20 of 22




                                                                     19
Case 1:19-bk-11696-VK   Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19   Desc
                         Main Document    Page 21 of 22




                                                                     20
        Case 1:19-bk-11696-VK                     Doc 117 Filed 02/27/20 Entered 02/27/20 11:20:19                                      Desc
                                                   Main Document    Page 22 of 22


                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
21650 Oxnard Street, Suite 500, Woodland Hills, CA 91367.
A true and correct copy of the foregoing document entitled: TRUSTEE’S APPLICATION FOR AUTHORITY TO EMPLOY
REAL ESTATE BROKER; STATEMENT OF DISINTERESTEDNESS IN SUPPORT THEREOF will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
February 27, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

   Katherine Bunker kate.bunker@usdoj.gov
   Kathleen C Hipps kathleen.hipps@gmlaw.com, silvia.cerna@gmlaw.com;lorraine.corrales@gmlaw.com
   Harris M Madnick hmmadnick@kramarmadnick.com
   Noreen A Madoyan Noreen@MarguliesFaithLaw.com, Helen@MarguliesFaithlaw.com;
    Vicky@MarguliesFaithlaw.com; Angela@MarguliesFaithlaw.com
   Craig G Margulies Craig@MarguliesFaithlaw.com, Vicky@MarguliesFaithlaw.com; Helen@MarguliesFaithlaw.com;
    Angela@MarguliesFaithlaw.com
   William M Noall BKnotices@gtg.legal, wnoall@gtg.legal
   Michael H Raichelson mhr@cabkattorney.com
   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
   Diane C Weil (TR) dcweil@dcweillaw.com, DCWTrustee@dcweillaw.com, dweil@iq7technology.com,
    alopez@dcweillaw.com
   Robert P Zahradka caecf@tblaw.com

                                                                                  Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On February 27, 2020, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
Debtor
Peter M. Seltzer
4179 Prado de la Puma
Calabasas, CA 91302-3624
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on February 27, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

BY PERSONAL DELIVERY
Honorable Victoria S. Kaufman
United States Bankruptcy Court
21041 Burbank Blvd., Bin on First Floor
Woodland Hills, CA 91367-6606

                                                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
February 27, 2020                             MELA ZEPEDA                                 /s/ Mela Zepeda
Date                                          Printed Name                                Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
